                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI


H&R BLOCK, INC. and HRB
INNOVATIONS, INC.,
                                                            Case No. 4:21-cv-00913-NKL
                       Plaintiffs,

        V.

BLOCK, INC.,

                       Defendant.


                       JOINT MOTION AND STIPULATION TO
                    AMEND SCHEDULING AND JURY TRIAL ORDER

       COME NOW Plaintiffs H&R Block, Inc. and HRB Innovations, Inc. and Defendant

Block, Inc., by and through their respective undersigned counsel, and hereby jointly move for the

amendments described below to the Court’s Scheduling and Jury Trial Order (the “Scheduling

Order”) and stipulate as follows:

       1.      On January 19, 2022, the Court entered the Scheduling Order, which, among

other things, provided that all discovery motions must be filed on or before June 17, 2022, that

Defendant’s expert designations must be served that same day, and that all discovery must be

completed by July 19, 2022; established a deadline of August 9, 2022 for the filing of dispositive

and Daubert motions; and set the case for trial during a 4-week jury docket commencing January

17, 2023 and running through February 10, 2023. (Doc. 50).

       2.      The parties have not previously requested any amendments or extensions of the

Scheduling Order.

       3.      As the Court is aware, the Parties have actively litigated this case since its

inception. In addition to the preliminary injunction-related and other proceedings before the



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Court, outside of Court, the Parties have proceeded with discovery and additional activities in an

effort to advance the case and comply with the existing Scheduling Order. Without limitation,

the Parties all have served and responded to written discovery, have requested and produced

documents, and have been meeting and conferring about issues that have arisen between them;

and Plaintiffs served their expert designations on May 17 (in accord with the Scheduling Order).

       4.      As part of the Parties’ recent meet-and-confer discussions, the Parties have

determined and agree that an amendment of the Scheduling Order is necessary and appropriate in

light of Defendant’s pending appeal of the Court’s April 28, 2022 Order and in order to

accommodate the Parties’ desire to work productively to try to address their discovery disputes

before seeking the Court’s intervention.

       5.      With respect to the appeal, on June 8, 2022, the Eighth Circuit ordered an

expedited schedule that requires the Parties to submit their briefs and appendices on a shortened

timeline, such that:

            a. Defendant’s opening brief and appendix are due tomorrow, June 17, which is the

               same day the Parties’ discovery motions and Defendant’s expert designations also

               are due;

            b. Plaintiffs’ brief and separate appendix are due July 15, meaning that Plaintiffs

               would be required to prepare their appellate filings over the same four-week

               period during which the Parties would also be required to take all depositions,

               complete all written and documentary discovery, and resolve all discovery

               disputes in this Court; and




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            c. Defendant’s response brief is due July 29, meaning that its two-week briefing

               period would encompass the final four days the Parties have for discovery and

               half of the period for briefing dispositive and Daubert motions in this Court.

Also, pursuant to the Eighth Circuit’s Order expediting the appeal, oral argument for the appeal

will be set on the Eighth Circuit’s September calendar (set to convene in St. Louis September 19-

23). This means that, under the current Scheduling Order, the Parties would be required to

prepare to argue the appeal at the same time they also would be required to brief the dispositive

and Daubert motions filed in this Court. And, the Parties would be required to brief those

motions and otherwise proceed in this case without the benefit of any guidance the Eighth

Circuit’s ruling may afford.

       6.      In summary, the Eighth Circuit’s expedited schedule (which also coincides with

additional time constraints for the Parties and their counsel) requires the Parties’ to focus their

efforts upon briefing and preparing to argue the appeal over the next 90 days, and does not leave

adequate opportunity to meet the requirements of the Scheduling Order at the same time. Thus,

the Parties agree that a stay of activity in this Court is warranted during that period, followed by

a brief extended period to complete discovery and resume activities toward trial.

       7.      Moreover, under the current schedule, the Parties would be required to file

discovery motions by tomorrow, June 17. Yet, the Parties agree that further time to meet and

confer and to supplement their existing discovery responses and productions is warranted and

may limit the need for Court intervention. And, while the Parties do not agree on the likely

outcome of the appeal, the Parties agree that the Eighth Circuit’s disposition of issues presented

on appeal (which include, e.g., issues bearing on which marks are properly compared) may

provide guidance in discovery, aid in the resolution of disputed issues, and inform the focus and



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trajectory of the case. In addition, the Parties anticipate that, given the expedited schedule, the

Eighth Circuit’s ruling will issue relatively soon after argument is heard in September.

       8.      Under these circumstances, the Parties respectfully submit that an amendment of

the existing Scheduling Order is necessary and appropriate. Toward that end, and in furtherance

of the goals discussed above, the Parties propose that activity in the District Court, should be

stayed for a period of 90 days (through September 18, 2022), and that the following amended

dates should be adopted to follow that period:

       Deadline                    Current Date                  Proposed Amended Date
   Defendant’s Expert              June 17, 2022                    October 17, 2022
      Designations              (Sch. Ord. ¶ D.2.b.)
   Discovery Motions               June 17, 2022                    November 17, 2022
                                     (id. ¶ D.1.)
   Expert Depositions              July 19, 2022                    December 16, 2022
                                    (id. ¶ D.2.c.)
   Pretrial Discovery,             July 19, 2022                    December 16, 2022
 Including Depositions               (id. ¶ D.3.)
Dispositive and Daubert           August 9, 2022                    February 10, 2023
         Motions                       (id. ¶ E)
      Trial Setting              January 17, 2023               On or around June 20, 2023
                                     (id. ¶ A.1.)

        Pretrial conference and deadlines to be reset based on new trial date (id. ¶¶ G-O)
                     Expired Pleading Deadlines would not be reset (id. ¶ B)

       9.      This amendment of the Scheduling Order is not sought for any improper purpose.

Rather, the Parties respectfully submit to the Court that good and exceptional cause exists for the

proposed stay and schedule amendments, as described herein.

       Wherefore, the parties respectfully request that the Court enter an amended Scheduling

Order staying the District Court case for a period of 90 days through September 18, 2022 and

adopting the amended schedule set forth above.


So stipulated and respectfully submitted,

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Dated: June 16, 2022

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                                   CERTIFICATE OF SERVICE


       I hereby certify that on June 16, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF, which will generate and send a Notice of Electronic

Filing to all counsel of record.




                                             /s/ Stacey R. Gilman
                                             Attorney for Plaintiffs




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